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       UNITED STATES DISTRICT COURT OF DISTRICT OF NEW JERSEY

                               NEW JERSEY



  ZIA SHAIKH

                     --- PLAINTIFF

  v.

  LAURA GERMADNIG, Estate of            CIVIL ACTION NO:
  SIEGFRIED GERMADNIG Sr, PATRICIA
  GERMADNIG, MELISSA REEVES,            3:22-CV-02053-GC-RLS
  KENNETH REEVES, STACY GERMADNIG,
  SIEGFRIED GERMADNIG JR., BARUS
  GERMAGNIG, CRYSTAL GERMAGNIG,
  SKYLAR GERMADNIG, DAVID                     PLA’ OPPOSITION AND
  TARNOWSKI, NICOLE TARNOWSKI,
                                           RESPONSE TO YELP INC et al
  SLAVA KLEYMAN, NANCY
  CAVANAUGH, LOUIS ELWELL, JANICE               DEFENDANTS FOR
  ELWELL, CHRISTINE GILFILLEN,
                                               MOTION TO DISMISS
  SANDRA SEAMAN, JACK M, NADA
  PITYINGER, BRETT PITYINGER, DANIEL
  SCHASTNY, KATHLEEN SCHASTNY,
  BRADELY MCKEE, RENE MCKEE,
  ROBERT MCKEE, CAROL MCKEE,
  STANLEY O’BRIAN, LORI O’BRIAN,
  CANDY MCKEE, STEVEN A. ZABARSKY,
  ESQ., KIMBERLY ZABARSKY, LAW FIRM
  OF CITTA, HOLZAPFEL & ZABARSKY,
  LEGAL MALPRACTICE INSURANCE
  CARRIER FOR CITTA, HOLZAPFEL &
  ZABARSKY, CATHLEEN CHRISTIE-
  CONEENY, ESQ., LEGAL MALPRACTICE
  INSURANCE CARRIER FOR CATHLEEN
  CHRISTIECONEENY, ESQ., JOSEPH
  GUNTESKI CPA, COWAN & GUNTESKI &
  CO, JOHN R. RILEY JR, CPA, ABV, CGMA,
  AICPA (ASSOCIATION OF
  INTERNATIONAL CPA’S), SETH ARKUSH,
  INTEGRATED CARE CONCEPTS LLC,
  JACKSON SCHOOL DISTRICT,
  PRINCIPAL OF JACKSON LIBERTY HS,
  PRINCIPAL OF CHRISTA MCAULIFEE
  MIDDLE SCHOOL, PRINCIPAL OF
  CRAWFORD RODRIGUEZ ELEMENTARY
  SCHOOL, STEPHANIE J. BROWN, ESQ.,
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  AUGUST J. LANDI, ESQ., MARGIE
  MCMAHON, ESQ., DAVID SCHLENDORF,
  ESQ., JACKSON TWSP. POLICE CHIEF
  MATTHEW KUNZ, JACKSON TOWNSHIP
  POLICE OFFICER CHRISTOPHER PARISE,
  OCEAN CITY NJ PROSECUTOR BRADLEY
  BILHEIMER, JOHN FOTI JR, MADELINE F.
  EINBINDER J.S.C., MARLENE L. FORD
  A.J.S.C., JOHN S. DORAN, J.S.C.,
  DEBORAH H. SCHRON J.S.C., FRANCIS
  HODGSON P.J.Ch, YELP INC, JOHN DOES
  1- 10, JOHN DOES 1-10, XYZ
  CORPORATIONS


                    --- DEFENDANTS
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                       Notice of Special Pro Se Litigant Rights

    Comes now Petitioner, Zia Shaikh, respectfully providing a sample collection of federal case
 laws regarding certain special respect to and for pro se rights:
   Pro se pleadings are always to be construed liberally and expansively, affording them all
 opportunity in obtaining substance of justice, over technicality of form. Maty v. Grasselli
 Chemical Co., 303 U.S. 197 (1938); Picking v. Pennsylvania Railroad Co., 151 F.2d 240 (3rd
 Cir. 1945); Jenkins v. McKeithen, 395 U.S. 411, 421 (1959); Haines v. Kerner, 404 U.S. 519,
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 1079, 1081, 31 L.Ed.2d 263 (1972); Puckett v. Cox, 456 F. 2d 233 (6th Cir. 1972); and, etc., etc.,
 etc., practically ad infinitum.
    If the court can reasonably read the submissions, it should do so despite failure to cite proper
 legal authority, confusion of legal theories, poor syntax or sentence construction, or a litigant's
 unfamiliarity with particular rule requirements. Boag v. MacDougall, 454 U.S. 364, 102 S.Ct.
 700, 70 L.Ed.2d 551 (1982); Estelle v. Gamble, 429 U.S. 97, 106, 97 S.Ct. 285, 50 L.Ed.2d 251
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 Then v. I.N.S., 58 F.Supp.2d 422, 429 (D.N.J. 1999); and, etc., along with numerous similar
 rulings.
    When interpreting pro se papers, this Court is required to use its own common sense to
 determine what relief that party either desires, or is otherwise entitled to. S.E.C. v. Elliott, 953
 F.2d 1560, 1582 (11th Cir. 1992). See also, United States v. Miller, 197 F.3d 644, 648 (3rd Cir.
 1999) (court has a special obligation to construe pro se litigants' pleadings liberally); Poling v.
 K. Hovnanian Enterprises, 99 F.Supp.2d 502, 506-07 (D.N.J. 2000); and, etc.
    Indeed, the courts will even go to particular pains to protect pro se litigants against
 consequences of technical errors if injustice would otherwise result. U.S. v. Sanchez, 88 F.3d
 1243 (D.C.C ir. 1996). Moreover, "the court is under a duty to examine the complaint to
 determine if the allegations provide for relief on *any* possible theory." (emphasis added) See,
 e.g., Bonner v. Circuit Court of St. Louis, 526 F.2d 1331, 1334 (8th Cir. 1975) (quoting Bramlet
 v. Wilson, 495 F.2d 714, 716 (8th Cir. 1974)), and etc.



                                                  1.
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           PLAINTIFF’S’ RESPONSE TO DEFENDANT’S MOTION TO DISMISS
      FOR LACK OF JURISDICTION AND INCORPORATED MEMORANDUM OF LAW

         Plaintiff, ZIA SHAIKH, files this Response to Defendant’s Motion to Dismiss Complaint

 for Lack of Jurisdiction and Incorporated Memorandum of Law and says:

 I.      PRELIMINARY STATEMENT

         Plaintiff filed its First Amended Complaint on March 06,2023 upon order of this

 Honorable court. Plaintiff’s Complaint asserts causes of action for multiple intentional torts

 including defamation, trade libel and tortious interference with business. Plaintiff’s Complaint

 was served on Defendant on March 20,2023. On April 24, 2023Defendant filed Defendants’

 Motion to Dismiss. (“Motion to Dismiss”).

         Contrary to Defendant’s assertions that this instant case has any connection to Pla’s state

 court divorce case is patently incorrect; this has everything to do with the intentional torts being

 committed against me thru a third party only known to Plaintiff as “Jack M” via his/her 2015

 review on the public forum used by the residents of New Jersey regularly when inquiring about

 the reputation of any business, including Plaintiff’s defunct insurance business. Plaintiff since

 2015 has directly attempted to resolve this issue with the Defendant but was delayed by months

 due to Defendant’s lack of response. Then in 2018 Pla’ filed a state action against “Jack M.” and

 Yelp Inc in South Carolina on March 29, 2018 case # 2018-CP-07-687; unfortunately due to lack

 of service on “Jack M.” since Pla’ could not ascertain his/her address and Yelp Inc refused to

 provide any identifying information, the case was subsequently dismissed. See EXHIBIT “A”.

         In it’s Motion to Dismiss, Defendant asserts, in pertinent part, that Defendant has not

 directed any communications “into” the state of New Jersey and, therefore, this Court does not

 have subject matter jurisdiction over it.


                                                   2.
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        Defendant’s Motion to Dismiss addresses general jurisdiction based on minimum
 business contacts with the state of New Jersey in addition to special jurisdiction. Plaintiff
 concedes that it asserts that this Court’s jurisdiction over the Defendant arises from special
 jurisdiction by application of NJ Rev Stat § 14A:13-3. Consequently, this response is directed
 toward that basis of jurisdiction. There are no averments in the Declaration controverting
 Plaintiff’s assertion that Defendant defamed and or allowed such publication against Plaintiff on
 it’s website.
        Plaintiff alleges that Defendant is subject to the personal jurisdiction of this Court by
 committing intentional torts causing harm and injury to Plaintiff’s business in New Jersey by
 posting on it’s forum numerous defamatory statements.

 II. LEGAL ARGUMENT

    Standard/Test For Granting Or Denying A Motion To Dismiss For Lack Of Jurisdiction.


        The Eleventh Circuit and the federal districts courts of New Jersey apply a two-part

 inquiry to determine whether a court may properly exercise personal jurisdiction over a

 defendant. First, a court must determine whether the exercise of jurisdiction is appropriate under

 the forum state’s long-arm statute. Second, a court must determine whether exercising personal

 jurisdiction would violate the Fourteenth Amendment Due Process Clause.

        In considering a motion to dismiss for lack of jurisdiction, a court must take the

 allegations of the complaint as true to the extent the allegations are uncontroverted by affidavits

 or deposition testimony of the defendant. Whitney Information Network, Inc. v. Xcentirc

 Ventures, LLC, 199 Fed. Appx 738 (11th Cir. 2006). Where a court does not hold a discretionary

 evidentiary hearing on the motion, the defendant may file affidavits and depositions challenging

 the personal jurisdiction and the material allegations of the complaint. Id. at 741. If the

 defendant’s affidavits and depositions sufficiently controvert the material allegations of the

 complaint and are not merely conclusory, the burden of proof shifts to the plaintiff to demonstrate
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 prima facie evidence supporting jurisdiction. Plaintiff’s prima facie evidence must be sufficient

 to withstand a motion for directed verdict.

              I. The Court Has Personal Jurisdiction Over Defendant Pursuant To
                                   NJ Rev. Stat § 14A:13-3

 a.      Defendant Is Subject To The Jurisdiction Of This Court Because Defendant Committed
         Tortious Acts In The State of New Jersey.

        The federal court must construe a forum’s long-arm statute as the forum state’s highest

 court would construe the long-arm statute. Whitney Information Network, Inc. v. Xcentirc

 Ventures, LLC, 199 Fed. Appx 738 (11th Cir. 2006). Where the forum state’s highest court has

 not addressed an issue directly, a federal district court must follow federal circuit courts of appeal

 precedent.

        Although the Supreme Court of New Jersey ruled that physical presence is not necessary

 for personal jurisdiction if a communication is directed “into” New Jersey. This Court should

 look to federal court precedent in determining the issue.

        Plaintiff’s has been unable to locate any Eleventh Circuit opinion stating the Eleventh

 Circuit’s position on whether posting defamatory information on the Internet for general public

 access and viewing constitutes publication of the statements in a forum state for the purposes of

 jurisdiction. In Whitney Information Network, Inc., 199 Fed. Appx 738, the Eleventh Circuit did

 address alleged Internet defamation based on alleged defamatory postings on a website.

 However, the issue the court dealt with was whether the provisions and protections of the Digital

 Millennium Copyright Act removed the matter from the court’s jurisdiction. Id. at 744. The

 court did not in its opinion address due process and fairness issues such as minimum contacts, the

 location of the postings, or whether the posting had been directed into the state of New Jersey in

 any fashion, whether generally or specifically. Id.
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        The federal courts for the state of Pennsylvania have addressed the issues substantially,

 but in a commercial or negligence context. See Pierce, et al. v. Hayward Industries, Inc., et al.,

 2006 U.S. Dist LEXIS 16472 (Pa. 2006); Manufacturing Company v. Zippo Dot Com, Inc., 952

 F. Supp 1119 (W. Pa. 1993); Mar-Eco, Inc. v. T & R and Sons Towing and Recovery, Inc. et al.,

 937 A.2d 512 (P.A. 2003). In Manufacturing Company v. Zippo Dot Com, Inc., 952 F. Supp 1119

 (W. Pa. 1993), the Zippo district court acknowledged that courts have difficulty with determining

 personal jurisdiction arising out of Internet/website causes of action because of the changing

 communication environment resulting from the explosion and growth of the Internet, saying:

        The Internet makes it possible to conduct business throughout the world entirely
        from a desktop. With this global revolution looming on the horizon, the
        development of the law concerning the permissible scope of personal jurisdiction
        based on the Internet use is in its infant stages. The cases are scant.

 Id. at 1123-1124.

        Zippo established a sliding scale for determining whether personal jurisdiction should

 exist in commercial causes of actions. The Zippo sliding scale balances the level of interactivity

 and targeting of the forum to determine whether in commercial business context Internet use can

 subject a non-resident defendant to personal jurisdiction in a foreign forum based the defendant’s

 Internet contact. Basically the more an entity does business over the internet and the more The

 Zippo case provides an excellent overview and consideration of cases involving various district

 court rulings relating to a determination of personal jurisdiction in various Internet related

 circumstances. However, Zippo addresses the issue from a commercial perspective rather than

 from a tort perspective. The more interactive the Defendant’s website is, the more likely the

 chance that the foreign forum will be able to exercise jurisdiction over the Internet i.e. Yelp Inc

 defendant.   Even if a business entity does not specifically direct communications to a forum, but

 rather creates an environment and accessibility for a foreign forum to access and use the website,

 the Internet user is likely to be subject to the foreign jurisdiction. If an Internet user merely posts
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 information without target any particular entity or forum, then the Internet user is far less likely

 to be subjected to personal jurisdiction in a foreign forum.

         Pierce establishes a two-part test: (1) the “interactivity” sliding scale of Zippo; (2) and a

 direct causal connection between the use of the website and the cause of action or injury. Pierce,

 et al. v. Hayward Industries, Inc., et al., 2006 U.S. Dist LEXIS 16472 (D. PA 2006). The Pierce

 Court distinguished personal injury cases from commercial cases based on the lack of connection

 between an injury and the use of a website, but only refers to personal injury based on negligence

 or product liability; it does not address intentional torts. The Pierce Court stated that personal

 injury cases unrelated with no causal connection to the website should not confer personal

 jurisdiction based on the existence of the website. Id..

        The instant case meets the Pierce and Zippo tests, even though those cases considered the

 internet problems in a commercial context. First, it falls between the extremes of the Zippo

 scale. Defendant’s website is interactive. By Defendant’s admission, it is weblog/website

 “hosted” by Defendant. The website allows third-parties to post comments and further

 derogatory statements concerning Plaintiff and others.

 Additionally, Defendant promotes it’s reviews rankings for the benefit of the reviewer and to

 encourage additional business reviews as is the case with “Jack M”, who has multiple reviews on

 the Defendant’s website. See Exhibit “B ”.

  Additionally, Defendant did not merely post information on the website. It posted specific

 derogatory information specifically false allegations of Pla’ being a “dead beat dad” or “is under

 investigation by the IRS” in it’s forum. Consequently, Defendant should be subject to the

 foreign forum’s personal jurisdiction.

        Second, there is a direct causal connection between Plaintiff’s asserted causes of actions

 and injuries and Defendant’s use and maintenance of it’s website. Plaintiff has alleged that
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 Defendant benefits from derogatory and negative reviews publication to increase traffic while

 generating millions in revenue; in collaboration with co-defendant “Jack M”; YELP Inc review

 page was setup for the specific purpose of defaming Plaintiff. Plaintiff asserts that Defendant has

 targeted Plaintiff, and his business which maintains and operates its principal place of business in

 the state of New Jersey. Defendant’s defamatory statements are specifically directed toward a

 New Jersey entity and an insurance licensed individual to cause an injury to him and his business

 interest operated from its principal offices located in Freehold, New Jersey. The causes of action

 asserted by Plaintiff are directly and proximately related to Defendant’s postings and

 collaboration with the unknown reviewer “Jack M”; on it’s website.

        As noted by the Zippo Court, the Internet is a new and evolving frontier. Unlike sending

 a letter or making a phone call directly to someone, which is a one-time publication act generally,

 Internet posters do not need to direct their defamatory communication anywhere to accomplish

 goal of injury a party in their business in their home state. With the availability of Internet search

 engines such as “Google” or a review site like YELP Inc, an individual seeking to defame an

 entity need not post directly to any individual or any state. The defamer may simply post on any

 website and the post will be available continuously to any party in any forum who does an

 Internet search of the defamed entity. The defamatory statement remains available on the

 Internet perpetually and is published every time a search is conducted of the defamed entity.

 Compare Inset Systems, Inc. v. Instructions Set, 937 F. Supp 161, 165 (D. Conn. 1996)(holding

 that Internet advertisements were continues and substantial contact because”…unlike television

 and radio advertising, the advertisement is available continuously to any Internet user. The

 traditional rules for defamatory publications for the purposes of personal direct jurisdiction

 simply do not apply to the Internet; now the third-party to whom the defamatory poster

 publishes comes to the publisher, rather than the publisher having to forward it to someone. As
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 a matter of public policy, it makes sense to have jurisdiction lie in the forum state where the

 defamed party resides or is located rather than where the defamer resides or is located. If the

 latter is applied, a defamer can defame across the world with impunity and force the aggrieved

 party to enforce their property right and reputation in the defamer’s home forum.

         By virtue of Defendant maintaining a website to post it’s defamatory statements to the

 general public, Defendant has directed communications “into” New Jersey by posting generally

 on it’s website. This Court should adopt the reasoning of Zippo and Pierce, apply it to the instant

 circumstances, and maintain personal jurisdiction over the Defendant.



        b.      Defendant Is Subject to the Jurisdiction Of This Court Because Defendant

 Committed Tortuous Acts Resulting In An Injury In The State of New Jersey. Even if this Court

 determines that Defendant’s Internet posts and commentary do not constitute a communication

 directly “into” the State of New Jersey sufficient to subject Defendant to personal jurisdiction

 under NJ Rev Stat § 14A:13-3, the Eleventh Circuit, other federal circuits, and some district

 courts of appeal of New Jersey have ruled that personal jurisdiction exists where the tort act is

 committed outside of the forum state but the resulting injury occurs in the forum state. Here

 again, the New Jersey Supreme Court has no direct ruling on this point. Therefore, this Court

 should again look to federal precedent.

        The Eleventh Circuit Court of Appeal has recognized that personal jurisdiction over an
 out-of-state defendant may exist “in circumstances where an out-of-state defendant commits a
 tort that produces an injury in New Jersey.” See Horizon Aggressive Growth, L.P. v. Rothstein-
 Kass, P.A., and 421 F.3d 1162, 1168 (11th Cir. 2005) As noted by the court in American Color
 See Horizon Aggressive Growth, L.P. v. Rothstein-Kass, P.A., and 421 F.3d 1162, 1168 (11th Cir.
 2005) Posner v. Essex Ins. Co., Ltd., 178 F.3d 1209 (11th Cir. 1999)(out-of-state tortious act
 affected contracts insuring property in New Jersey); Janmark, Inc. v. Reidy, 132 F.3d 1200, 1202
 (7th Circ. 1997)(injury occurred in Illinois against Illinois corporation where tortious act resulted
 in customer canceling an order); Williams v. Goldsmith, 619 So. 2d 330, 332 (Fla. 3d DCA
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 1993)(venue in tortious interference claim proper in the forum state where plaintiff was injured
 by a loss of clients). American Color Graphics, Inc. v. Brooks Pharmacy, Inc., et al., 2007 U.S.
 Dist. LEXIS 80093 (MD. Tampa 2007). Graphics, Inc., the New Jersey Supreme Court does not
 have a controlling ruling on the issue of whether an injury in New Jersey alone creates personal
 jurisdiction over an out-of-state defendant and the various state district courts of appeal have
 conflicting decisions. American Color Graphics, Inc. v. Brooks Pharmacy, Inc., et al., 2007 U.S.
 Dist. LEXIS 80093 (MD. Tampa 2007) citing Casita v. Maplewood Equity Partners, 960 So. 2d
 854, 856-57 (Fla. 3d DCA 2007); Williams v. Goldsmith, 619 So. 2d 330, 332 (Fla. 3d DCA
 1993). The Eleventh Circuit has broadly interpreted §48.193 (1)(b) to confer jurisdiction where
 the injury resulting from a tort occurs in the forum state.


        Plaintiff has alleged in its complaint that it suffered an injury to its business in the state of

 New Jersey. Plaintiff asserts that it has suffered an interference with its business contracts and

 has lost clients. Consequently, Plaintiff has pled sufficient facts, which if taken as true,

 demonstrate that Plaintiff has suffered an injury in New Jersey to its reputation and business

 interests and that the injury occurred as a result of Defendant’s actions. Consequently, Plaintiff

 has pled a prima facie case establishing this Court’s jurisdiction over the Defendant.


     c. This Court Exercising Personal Jurisdiction Over The Defendant Will Not Violate The
                           Fourteenth Amendment Due Process Clause.


        The second prong of the long-arm determination is whether the exercise of jurisdiction

 over the defendant “will offend traditional notions of fair play and justice.” Whitney Information

 Network, Inc., 199 Fed. Appx 738 at 741. The issue is the foreseeability of the eventuality of a

 potential suit against the defendant. The Supreme Court of the United States has stated the

 foreseeability issue very simply, saying “The foreseeability that is critical to the due process

 analysis is…that the defendant’s conduct and connection with the forum state are such that he

 should reasonably expect to be haled into court there.” World Wide Volkswagon Corp. v.

 Woodson, 44 U.S. 286, 295, 62 L. Ed. 2d 490, 100 S. Ct. 559 (1980).
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         Applying that basic standard to the instant case, can any prospective defendant not
 reasonably expect to be sued where the plaintiff’s business is located or lives and works if the
 defendant has engaged in activity specifically designed to disparage and damage the plaintiff’s
 business? Certainly, Defendant in this cause knew inherently or by various notices by this
 Plaintiff, starting in 2015 when the post was initially noticed that it’s statements were damaging
 and designed to harm Plaintiff ‘s business interests and reputation, both of which were plainly
 based in Freehold, New Jersey. Plaintiff has sufficiently pled facts supporting an exercise of
 jurisdiction over the defendant in compliance with due process grounds. Any exercise of
 personal jurisdiction over the Defendant by this Court should not surprise Defendant nor be
 unfair to Defendant considering the nature of Defendant’s alleged misconduct.


    d. Defendant’s Declaration via James Daire it’s director of the legal department, Is Legally
           Insufficient To Shift To Plaintiff The Burden Of Proof As To Personal jurisdiction.

        Although Defendant filed a declaration in opposition to this Court’s personal jurisdiction

 over it, the declaration is insufficient to shift the burden of proof to Plaintiff to make a prima

 facie showing of jurisdiction through opposing affidavits or deposition testimony. Defendant’s

 declaration must present more than mere conclusory denials and must controvert the material

 allegations of the complaint. See Whitney Information Network, Inc. v. Xcentirc Ventures, LLC,

 199 Fed. Appx 738, 743-744 (11th Cir. 2006). Defendant’s declaration presents mere conclusory

 denials and does not address the material allegations of the complaint.

        Furthermore, Plaintiff was forced to create his account in order to rebut the false

 allegations of “Jack M”; who is still unknown to this Plaintiff after several years of research and

 vehement rejection by the Defendant to provide any identifying information. Yelp Inc is

 notorious to use “First amendment, right to free speech”; as a blanket rebuff to thousands of

 aggrieved Plaintiff’s who have been victimized by ghost writers of such reviews and have never

 had any contact with the Plaintiff in any type of way; such reviews are NOT PROTECTED by

 the First amendment.
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 The First Amendment protects anonymous speech, including online reviews of products and
 services written by people using fake names. The right to anonymous speech, however, is not
 absolute. Defamatory speech, whether or not anonymous, is not entitled to protection, as there is
 no constitutional value in false statements of fact. If someone pretending to be a former customer
 writes a defamatory review on Yelp, Amazon, or some other consumer-review site, but doesn't
 disclose his or her real name, how does the business owner go about identifying the individual so
 that the individual can be held accountable?


 The answer lies in Section 8.01-407.1 of the Code of Virginia, which sets forth a specific
 procedure for uncovering the identities of people who communicate anonymously over the
 Internet. The proper application of this statute was recently discussed in Yelp v. Hadeed Carpet
 Cleaning, a case arising out of Alexandria. As of October 2012, Yelp's site contained seventy-
 five reviews about Hadeed Carpet Cleaning, many of them critical. Included among these
 reviews were assertions by anonymous authors claiming to have been charged for work never
 performed and claiming that "precious rugs were shrunk." Hadeed sued the anonymous authors
 for defamation, alleging that the reviewers were never actual customers of Hadeed.
 After filing the lawsuit, Hadeed promptly issued a subpoena duces tecum to Yelp, demanding the
 production of documents that would enable Hadeed to identify the authors of the allegedly
 defamatory reviews.


 Yelp objected, arguing that Hadeed had not complied with the requirements of Sec_on 8.01-
 407.1. Hadeed revised its subpoena to comply with the statute, but Yelp continued to object and
 refused to comply; as was the case when Plaintiff filed his South Carolina law suit and repeated
 non-compliance with any subpoena ever issued for same.


 On a motion to compel compliance, the Circuit Court for the City of Alexandria held that
 Hadeed's subpoena satisfied the requirements of both the statute and the First Amendment, and
 ordered Yelp to disclose the informatio. Yelp refused, and was held in contempt.
 It then appealed that ruling to the Virginia Court of Appeals (which has jurisdiction to consider
 appeals of civil contempt orders), arguing that the First Amendment requires a showing of merit
 on both the law and facts before a subpoena duces tecum to identify an anonymous speaker can
 be enforced.
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 The Court of Appeals disagreed, holding in a case of first impression that Section 8.01-407.1 is
 not unconstitutional and that it alone provides the unmasking standard in Virginia.
         The simpleton and distractive argument presented by the counsel and the Defendant’s by

 citing their own created “Terms of services” is irrelevant and DOES NOT disqualify Plaintiff’s

 constitutionally protected rights.

         Had such a review not existed on Defendant’s platform, Plaintiff would not have any

 reason to rebut such malicious activity by having to open the account in the first place, ONLY

 TO rebut false allegations; any contract signed under duress is not enforceable, such is the issue

 in the instant case.

         In Defendant’s declaration, as to Plaintiff’s claims of commission of a tort as the basis of

 jurisdiction, Defendant avers as follows:


       1. I am an Associate Director of Legal at Yelp Inc. (“Yelp”). I have worked
       at Yelp since October 2019. Before that, I was a partner at the law firm
       Reed Smith LLP in San Francisco, where I worked for approximately 14
       years. I am a member of the bar of the State of California. As part of my job
       responsibilities, I oversee all litigation matters involving Yelp as well as user
       operations matters that involve legal issues. This includes investigating
       business pages on Yelp and the information they reflect and investigating
       user accounts through Yelp’s own internal tools.

       3. Yelp, founded in 2004, owns and operates Yelp.com, a popular local
       search website, mobile website, and related mobile applications for users to
       share information about their communities. Yelp, among other things,
       provides and publishes a forum for members of the public across the United
       States to read and write reviews about local businesses, services, and other
       entities, including nonprofits and government agencies. One of Yelp’s
       founding principles is that the best source for information about a local
       community is the community members themselves. Yelp helps the public
       make more informed choices about local businesses and activities.
       4. Yelp is a corporation organized under the laws of Delaware, and is
       headquartered in San Francisco, California. Attached as Exhibit A is a true
       and correct copy of Yelp’s current Statement of Information filed with the
       California Secretary of State on June 10, 2022.

       5. Yelp has no offices in the state of New Jersey.

       6. Yelp offers free accounts to businesses, which allow them to provide
       additional information about themselves, message reviewers directly or
       publicly, and view statistics about their Yelp page (such as how many people
       viewed their Yelp profile or contacted them through Yelp’s mobile
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      applications). To obtain a free business account and link it to a particular
      business on Yelp, the business user must go through an account registration
      process and then “claim” the business. Once a business representative
      claims a business, he or she may post public responses to reviews on behalf
      of business, which are displayed directly below the relevant review and are
      visible to any visitor to Yelp. Through these features, Yelp encourages
      dialogue regarding local businesses and consumers.

      7. I have read the allegations that Plaintiff Zia Shaikh (“Plaintiff”) makes
      against Yelp in his First Amended and Verified Complaint (D.E. 154 at ¶ ¶
      68, 127, 128). Plaintiff’s allegations appear to relate to the Yelp business
      page for Shaikh Zia H - America's Retirement Planning Partners. A true
      and correct copy of the business page, made on April 21, 2023, is attached as
      Exhibit B. The page is also publicly accessible at:
      https://www.yelp.com/biz/shaikh-zia-h- americas-retirement-planning-
      partners-freehold. There are no reviews currently posted to the page, but
      the page has been claimed by Plaintiff.

      8. Plaintiff created his Yelp business account on July 7, 2020, and he claimed
      the Yelp business page for Shaikh Zia H - America's Retirement Planning
      Partners on July 10, 2020. A true and correct copy of Plaintiff’s account
      history (redacted to protect certain personal information and proprietary
      business information of Yelp) is attached Exhibit C.

      9. To create a business account on Yelp’s website, as Plaintiff did, a user
      goes to https://biz.yelp.com/signup to complete an online registration form
      and electronically submit the form to Yelp. A screenshot showing what this
      looked like on July 7, 2020 is attached as Exhibit D. The online registration
      process for a user creating a business account states: “By continuing, you
      agree to Yelp’s Terms of Service and Privacy Policy.” The “Terms of
      Service” text is in blue font and is hyperlinked such that when the user clicks
      on the text, he or she is taken to the Yelp Terms of Service agreement.
      Underneath this text is a red button with the words “Sign Up” that takes the
      user to the next step in the registration process. To create a free Yelp
      business account, Plaintiff clicked on the button manifesting his agreement
      to Yelp’s Terms of Service.

      10. Plaintiff also must agree to the Terms of Service and Privacy Policy each
      time he logs into his account on Yelp. As shown in Exhibit B, Plaintiff last
      logged into his business account ten months ago. A screenshot showing what
      this looked like ten months ago is attached as Exhibit E. Similar to the sign-
      up form, the log-in form expressly states, “By continuing you agree to Yelp’s
      Terms of Service and acknowledge our Privacy Policy.” The “Terms of
      Service” text is in blue font and is hyperlinked such that when the user clicks
      on the text, he or she is taken to the Yelp Terms of Service agreement.
      Underneath this text is a red button with the words “Log In”. To log
      in to his business account, Plaintiff clicked on the button manifesting his
      agreement to Yelp’s Terms of Service.

      11. A true and correct copy of Yelp’s Terms of Service, which are also
      publicly accessible at https://terms.yelp.com/tos/en_us/20200101_en_us/, are
      attached as Exhibit F. The Terms of Service state in relevant part:
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 These allegations are mere conclusory denials and do not address any of the specific material

  allegations of Plaintiff’s Complaint. Also, the averments do not controvert the material

  allegations of the Complaint as to Plainitff’s claims that Defendant collaborated with the ghost

  author “Jack M”, and posted on it’s website defamatory statements regarding Plaintiff personally

  and his businesses.

 Defendant’s Declaration does not controvert material allegations of the Complaint such as:
 (1) YELP Inc. is the online business marketing and community forum provider that does
 business in New Jersey at all times relevant to this Complaint.

 (2)     On October 06,2015 an unknown person identified as “Jack M” posted a review on a
 popular public forum known as YELP inc, brutally defaming Plaintiff and insinuating an IRS
 action with full knowledge of Plaintiff’s divorce proceedings and child support related issues.
 Plaintiff believes this person to be a known actor to the Germadnig, Reeves or Cavanaugh
 defendants. This posting continues to harm Plaintiff in every aspect of his daily life.

 (3) In November 2015 Plaintiff contacted the forum YELP Inc to explain that their online user
 “Jack M” is alien to the Plaintiff and thus this review is not protected by the US constitution on
 First amendment about free speech; the forum continually denies subpoenas to release
 identifying information about “Jack M” thru it’s robust legal team; thus colluding to defy the
 constitutionally protected rights of the Plaintiff.

 Defendant has caused injury to Plaintiff.

         In Whitney Information Network, Inc., the Court ruled that the defendant’s declarations in

 support of a motion to dismiss for lack of jurisdiction were insufficient because the defendant

 website owner did not controvert the provider’s allegations that the website owner tailored

 complaints submitted by other individuals adding words such as “scam,” ripoff,” dishonest.”

 Whitney Information Network, Inc. v. Xcentirc Ventures, LLC, 199 Fed. Appx 738 (11th Cir.

 2006). Because the defendant did not controvert these material allegations specifically, the court

 ruled that the party moving to dismiss did not shift the burden to the plaintiff to prove personal
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 jurisdiction over the defendant, vacated the ordered dismissing the case, and remanded the matter

 to the district court. Id. at 743-744.

         Similar to the defendant in Whitney Information Network, Inc., the Defendant in this

 matter has failed to controvert the material allegations of the Complaint and, therefore, failed to

 shift to plaintiff the burden of proving jurisdiction.


         II. RULE 12 (b)(6) EXAMINES WHETHER PLAINTIFF’S ALLEGATIONS ARE

 SUFFICIENT TO ALLOW THEM TO CONDUCT “DISCOVERY” IN AN ATTEMPT TO

 PROVE THEIR ALLEGATION:


 Plaintiff further states that Rule 12(b)(6) does not test whether plaintiffs may ultimately prevail,

  but examines whether the allegations are sufficient to allow them to conduct discovery in an

  attempt to prove their allegation. (Haines v. Kerner, 404 U.S. 519 (1972); Jackam v. Hospital

  Corp. of Am. Mideast, 800 F.2d 1577, 1579-80 (11th Cir.1986) (stating that the issue is not

  whether the plaintiffs might ultimately prevail on the "piercing the corporate veil" theory, but

  whether the allegations are sufficient to allow them to conduct discovery in an attempt to prove

  their allegations). If Rule 12(b)(6) is improperly granted just for a pleading standard, a plaintiff

  may not only lose the opportunity to participate in discovery, but also lose the right to present

  affidavits and reach the summary judgment stage if the complaint reveals an adequate basis for

  the claim on its face. (Jacob v. Curt, 898 F.2d 838, 839 (1st Cir. 1990).

       A)    THE PRESENT RULE OF SUFFICIENT PLEADING STANDARDS:

 Disputes raised by a plaintiff can be classified as follows: (1) disputes in which the plaintiff is

  substantively entitled to a legal claim, (2) disputes in which it is not clear whether the plaintiff is

  substantively entitled to a claim due to legal or factual ambiguity, and (3) disputes in which the

  plaintiff is not legally entitled to any claim, but plaintiff sued because of an expectation for an

  unjust settlement, a misunderstanding of substantive laws, or other inappropriate reasons. Plaintiff
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  states that even case (3) may not be dismissed under the modern notice pleading, if the plaintiff

  stated a claim sufficiently in the complaint.

 In Conley v. Gibson, the Supreme Court stated that the 12(b) (6) motion must not be granted

  "unless it appears beyond doubt that the plaintiff can prove no set of facts in support of his claim

  which would entitle him to relief. The subsequent findings in Twombly and Iqbal’s Case concurs

  the liberal standards. The Supreme Court has taken the position that substantive policy or law

  should not influence the pleading rules. For example, in Sedima, S.P.R.L. v. Imrex Co.,' (473 U.S.

  479, (1985). the Supreme Court rejected the Second Circuit's efforts to construct new elements

  for a RICO claim.10 8 Similarly, in H.J. Inc. v. Northwestern Bell Tel. Co., (492 U.S. 229 (1989),

  the Supreme Court reversed and remanded the dismissal decision of the court below by refusing

  to narrow the application of civil RICO. Also, in Haines v. Kerner, 404 U.S. 519 (1972) the

  Supreme Court reversed and remanded a dismissal decision because allegations such as those

  asserted by the petitioner, however in artfully pleaded, were sufficient to call for the opportunity

  to offer supporting evidence, regardless of the disciplinary policy in prison. Also, several have

  observed that courts must construe a pro se complaint liberally, by applying less stringent

  standards than when a plaintiff is represented by counsel. (citing Haines v. Kerner, 404 U.S. 519

  (1972)).

    B.       BURDEN OF PLEADING AND BURDEN OF ALL MOVANT DEFENDANTS.

  In factual interception contexts, the courts should pay great attention to the burden of pleading

  and the burden of the movant in Rule 12(b)(6) proceedings. The burden of pleading an issue is

  usually assigned to the party who has the burden of producing evidence on that issue at trial.

  Accordingly, plaintiff normally should not have the burden of pleading the elements on which

  defendant must introduce proof. On the other hand, defendant generally has the burden of

  persuasion as the movant in Rule 12(b)(6) motion. (See, e.g., Jackam v. Hospital Corp. of Am.

  Mideast, 800 F.2d 1577, 1579 (11th Cir. 1986); Currie v. Cayman Resources Corp., 595 F.2d
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  1364, 1370 (N.D. Ga. 1984). Since it is difficult to distinguish between sufficient pleadings and

  insufficient pleadings under Rule 8(a), the court should defer to the pleader's statements under the

  notice theory. From this view, even if the plaintiff has the burden of pleading an essential element,

  the defendant should meet the burden of persuasion regarding that essential element in order to be

  granted a Rule 12(b)(6) motion. (See, e.g., Collins v. Nagle, 892 F.2d 489, 493 (6th Cir. 1989)

  (noting that the moving party must establish that there is no genuine issue as to any material

  fact in both Rule 56 motion and Rule 12(b)(6) motion).



       C.         THE COURTS SHOULD GRANT RIGHT TO AMEND BEFORE ANY

                                      INTENDED DISMISSAL:

 Liberal pleading standards give the courts discretion in deciding when a complaint is formally

  insufficient and whether to permit leave to replead. Accordingly, the district court has discretion

  to postpone deciding a motion to dismiss until some later stage in the proceeding, or to grant the

  motion to dismiss with leave to amend the complaint. (See, e.g., Salahuddin v. Cuomo, 861 F.2d

  40, 43 (2d Cir. 1988); Moran Towing Corp. v. Hartford Accident & Indem. Co., 204 F. Supp.

  353 (D.R.I. 1962). In most cases, the action will be expected to continue into the discovery stage,

  and determination of the legal sufficiency of a claim will be postponed until that stage is

  sufficiently completed.

 Generally, a pleading should not be dismissed for mere insufficiency or informality of a statement

  of a claim. Instead, the court ordinarily should give plaintiff leave to file an amended complaint,

  invoking Rule 15 (a) (See, e.g., Ricciuti v. New York City Transit Auth., 941 F.2d 119, 123 (2d

  Cir. 1991). Thus, amendment of pleading is to be freely granted, even after trial, under Federal

  Rule of Civil Procedure 15(b), and the court is directed in any event to grant the parties whatever

  relief they are entitled to after trial, whether they have requested it or not, by Federal Rule of Civil

  Procedure 54(c). If for any reasons court intends to determine insufficient pleadings, then
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  Plaintiff requests leave of the Court to file necessary amendments under Federal Rule 15(a) and

  Rule 54(c).



    III. PLAINTIFF’S ALL CLAIM OF RELIEFS IN THE COMPLAINT ARE NOT TIME

    BARRED.

 Assertion of Statute of Limitations on Motion to Dismiss: The defendants’ motions to dismiss

  assert that the claims in the Complaint are barred by applicable statutes of limitations. Under the

  circumstances, this defense is properly considered on a Rule 12(b)(6) motion. True, the statute of

  limitations is an affirmative defense. See Fed. R. Civ. P. 8(cfll). “Technically, the Federal Rules of

  Civil Procedure require a defendant to plead an affirmative defense, like a statute of limitations

  defense, in the answer, not in a motion to dismiss.” Schmidt v. Skolas, 770 F.3d 241, 249 (3d Cir.

  2014). Nevertheless, on a Rule 12(b)(6) motion, a complaint may be dismissed on statute of

  limitations grounds—but “only when the statute of limitations defense is apparent on the face of

  the complaint.” Wisniewski v. Fisher, 857 F.3d 152, 157 (3d Cir. 2017) (1983 case, citing

  Schmidt, 770 F.3d at 249). See also Fried u. JP Morgan Chase & Co., 850 F.3d 590, 604 (3d Cir.

  2017). A statute of limitations dismissal must consider the applicability of tolling doctrines in an

  appropriate case. See Wisniewski, 857 F.3d at 157—58 (reversing dismissal and remanding for

  consideration of whether time spent in exhausting administrative remedies tolled the § 1983

  limitations period).

 Statute of Limitations for § 1983 Actions Section 1983 does not contain its own statute of

  limitations, but borrows the limitations period from the law of the forum state. The date when a

  cause of action under § 1983 accrues is a matter of federal law. See Kach a Hose, 589 F.3d 626,

  634 (3d Cir. 2009) (citing Gentry v. Resolution Trust Corp., 937 F.2d 899, 919 (3d Cir. 1991)).

  “Under federal law, a cause of action accrues, and the statute of limitations begins to run when the

  plaintiff knew or should have known of the injury upon which its action is based.” Id. (internal
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  quotation marks and citations omitted). “As a general matter, a [ 1983j cause of action accrues at

  the time of the last event necessary to complete the tort, usually at the time the plaintiff suffers an

  injury.” Id. (citing United States v. Ku brick, 444 U.S. Ill, 120 (1979)). Accrual occurs, then,

  “when a plaintiff has ‘a complete and present cause of action,’ that is, when ‘the plaintiff can file

  suit and obtain relief.” Wallace, 549 U.S. at 8 388 (quoting Bay Area Laundry and Dry-Cleaning

  Pension Trust Fund v. Ferbar Corp. of CaL, 522 U.S. 192, 201 (1997)). Accrual may be delayed

  by a plaintiff’s lack of knowledge of the facts. The threshold of knowledge, however, is not a high

  one. The tort accrues when the “plaintiff knows or has reason to know of the injury which is the

  basis of the section 1983 action.” Fuilman v. Pa. Dep’t of Corr., 265 F. AppSc 44, 46 (3d Cir.

  2008); accord Kach, 589 F.3d at 634.

 The application of RICO’s accrual rule is reasonably predictable in cases where a plaintiff has

  actual knowledge of injury, which triggers the running of the statute of limitations. As a general

  matter, the limitations period does not begin to run until a plaintiff knows or should have known

  of its injury. Koch v. Christie’s Int’l PLC, 699 F.3d 141, 151 (2d Cir. 2012).

 The Second Circuit’s “discovery of injury” rule and the Eleventh Circuit’s “discovery of injury

  and pattern” rule, however, were adopted by almost an even number of federal circuit courts of

  appeal. In Klehr v. A.O. Smith Corp., 521 U.S. 179 (1997), the United States Supreme Court

  undertook its first effort to bring uniformity to civil RICO’s accrual standard. Under the facts

  of Klehr, however, the plaintiff’s action was timely under either the “discovery of injury” or

  “discovery of injury and pattern” rules.

 Superficially, the “discovery of injury and pattern” rule was revolutionary because it tied accrual

  to something other than a plaintiff’s discovery of injury. In their practical applications, however,

  equitable tolling principles largely eviscerated any material distinction between the “discovery of

  injury” and “discovery of injury and pattern” rules. As the Supreme Court noted in Rotella:
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 In rejecting pattern discovery as a rule, we do not unsettle the understanding that federal statutes

  of limitations are generally subject to equitable principles of tolling [citation omitted], and where

  a pattern remains obscure in the face of a plaintiff’s diligence in seeking to identify it, equitable

  tolling may be one answer to the plaintiff’s difficulty. . . . [Citation omitted.] The virtue of relying

  on equitable tolling lies in the very nature of such tolling as the exception, not the rule.

 The Plaintiff states that the tolling doctrine of fraudulent concealment combined with the

  “discovery of injury” rule essentially reaches the same result as the “discovery of injury and

  pattern” rule. Under fraudulent concealment, the running of the statute of limitations is tolled

  when a defendant engages in some misleading, deceptive or otherwise contrived action or scheme,

  in the course of committing the wrong, that is designed to mask the existence of a cause of

  action. Riddell v. Riddell Washington Corp., 866 F.2d 1480, 1491 (D.C. Cir. 1989).

 Exceptions to Limitations in FTCA cases: The Supreme Court has ruled to allow statute of

  limitations extensions in FTCA cases. The Supreme Court of the United States recently

  decided Wong v. United States and June v. United States. Both cases dealt with the issue of

  equitable tolling of the statute of limitations. In the opinion, the Court relied on Irvin v. Dep’t of

  Veterans Affairs, (89-5867), 498 U.S. 89 (1990) which held that time bars in suits between private

  parties are non-jurisdictional and presumptively subject to equitable tolling. This is a rebuttable

  presumption: Congress, if it chooses, may decide to create a jurisdictional time bar. But the

  Government must clear a “high bar” to show that a time bar is non-jurisdictional. The Court, in

  analysing the FTCA, found there was no clear language or legislative history to suggest that

  Congress intended the section 2401(b) to function as a limit on the Court’s jurisdiction.

 Tolling of Limitations: The applicable limitations period may be equitably tolled in appropriate

  circumstances. See Rotella v. Pederson, 144 F.3d 892, 897 (5th Cir. 1998). The federal court may

  disregard the state tolling rule only if it is inconsistent with federal policy.” See FDIC v. Dawson,

  4 F.3d 1303, 1309 (5th Cir. 1993) (citations omitted). Equitable tolling preserves a plaintiff’s
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  claims where strict application of the statute of limitations would be inequitable. Lambert v.

  United States, 44 F.3d 296, 298 (5th Cir. 19956). However, federal law requires that litigants

  diligently pursue their actions before equitable tolling becomes available. See Coleman v.

  Johnson, 184 F.3d 398, 403 (5th Cir. 1999); Covey v. Arkansas River Co., 865 F.2d 660, 662 (5th

  Cir. 1989)

 Plaintiffs’ argue with respect to timeliness, is that even if the applicable statute of limitations would

  otherwise bar their claims the court should apply certain equitable tolling principles, including

  fraudulent concealment and the discovery rule, to forestall the expiration of the limitations period.

  When a federal cause of action borrows a state statute of limitations, “coordinate tolling rules” are

  usually borrowed as well. Hardin v. Straub, 490 U.S. 536, 539 (1989) (quoting Bd. of Regents of

  the Univ. of N.Y. v. Tomanio, 446 U.S. 478, 484 (1980)). We have accordingly recognized that

  state equitable tolling principles control in § 1983 cases. Rotella v. Pederson, 144 F.3d 892, 897

  (5th Cir. 1998). This includes tolling based on fraudulent concealment and the “discovery rule.”

  See id. at 896–97.

 Plaintiff asserts that the Movant defendant in the Plaintiff’s Complaint have conspired, instigated,

 collaborated, intertwined, compelled, coerced, encouraged, fraudulently concealed and wilfully

 participated along with all the other defendants and state involved Defendants in this case and have

 acted against the Plaintiff hence they are primarily liable and there is clear Limitation Periods for

 all the violations claims and the Movant Defendants defense fails. The standard limitation period

 of two years, four years and five years does not apply to the case of the Plaintiff, since many of the

 cause of actions of the Plaintiff against the Movant Defendant individually and along with other

 defendants have accrued, continued and been discovered by the Plaintiff at a later point of time,

 enabling the tolling of limitations as pointed above. Plaintiff states that there are several

 discoverable facts from the defendants pertaining to the above and would be able to substantiate

 and prove their involvement in the course of proceedings leading to trail stage. Hence Movant
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 defendant’s argument of timed barred claims fails for the above reasons and such baseless

 arguments are not to be determined in a Section 12 (b) 6 motion to dismiss at this initial stage.



                                        IV.   CONCLUSION


 WHEREFORE PREMISES CONSIDERED Plaintiff respectfully requests the Court to deny the

 Objections of this Movant Defendant on it’s desperate and feeble Motion to Dismiss AND to

 grant such other relief to which Plaintiff is entitled with prejudice and costs.



   05/11/2023
                                                              Zia Shaikh / Plaintiff
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                             EXHIBIT B
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Print | Close Window

 Subject: You have a new message
   From: Yelp <no-reply@yelp.com>
   Date: Mon, Dec 11, 2017 2:05 pm
     To: "Zia S." <ZIA@MYARPP.COM>




                                     Hi Zia, Jack M. sent you a message on Yelp!




                                                     Jack M.
                                                     Bluffton, SC
                                         0 friends      21 reviews      0 photos




              Subject: RE: Dear Jack -- have not heard from you.

              “Nobody likes a liar and swindler Zia!

              Heard most of your licenses you obtained under false pretenses have been
              revoked! Wow....wonder who told them??

              I did not ruin your good name, because you have no good name. Everyone
              knows what you are really and such a swindler!!

              No fake reviews here sir. You are simply put, a total piece of human garbage,
              and everyone knows it. Especially here in the Father's group.

              Not taking care of your own children....what human waste.

              Enjoy your worthless life knowing your children and exwife and others that do
              know you, despise you.”
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           Reply to Message




      No longer wish to receive this email from Yelp? Unsubscribe. If you need to adjust how much email
                                    you get, feel free to update your settings.
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                                       Shaikh Document
                                              Zia H - CLOSED264
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                           Find barber, spa, nail salon                                          Near nj


          Restaurants               Nightlife             Home Services           ·    Write a Review           Events   Talk




                                                       Yelpers report this location has closed. Find a similar spot.



     Shaikh Zia H
                                 1 review       Details

         Add




           5 Lons Ln                                   Edit
           Jackson, NJ 08527
           Get Directions
           (732) 363-7228
           Send to your Phone



     Recommended Reviews for Shaikh Zia H                                                                                         Edit business info

               Your trust is our top concern, so businesses can't pay to alter or remove their reviews. Learn
               more.
                                                                                                                     ×          Hours

                                                                                                                                          Jack M.
       Search within the reviews                                   Sort byYelp Sort          LanguageEnglish (1)
                                                                                                                                          First to review


                  Zia S.                                                                                                        Browse nearby
                  Freehold, NJ
                     0 friends                                                                                                     Restaurants
                      1 review
                                                                                                                                   Nightlife
                                                      With so few reviews, your opinion of Shaikh Zia H could
                                                                 be huge. Start your review today.
                                                                                                                                   Shopping

                                                                                                                                   Show all
                  Zia S.
                  Freehold, NJ
                     0 friends
                      1 review




https://www.yelp.com/biz/shaikh-zia-h-jackson                                                                                                               1/3
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                                                                 6/15/2017
                                                Zia Shaikh is a self made first generation immigrant. Due
                                                to his dedication and commitment in achieving the
                                                American dream he has obtained dozens of Investment
                                                and Insurance licenses, Tax certifications etc to bring
                                                exponential value to his clients and to be the best he can
                                                be in the financial services industry.

                                                In 22 years of being in this business, he has built an
                                                excellent reputation with the investing public and has won
                                                several FIVE STAR advisor awards in NJ.

                                                His firm provides Investment, Tax, Insurance, Estate and
                                                Business planning services to Families and Businesses
                                                worth $2 Mil to $500 Mil.

                                                He can be contacted at his office in Freehold, NJ at 732-
                                                363-7228 x 101

                                                *** "JACK M" has posted a FALSE REVIEW ABOUT ME, I
                                                HAVE NEVER MET HIM AND HAVE NEVER DONE
                                                BUSINESS IN SOUTH CAROLINE AS MY COMPANY IS
                                                NOT LICENSED TO DO BUSINESS THERE.

                                                My divorce finalized in December 2016 and I believe this
                                                false and malicious review was posted by a family member
                                                of my ex-wife LAURA's best friend KENNETH AND
                                                MELISSA REEVES, who reside in South Carolina. I am now
                                                in the process of preparing several law suits to have this
                                                malicious review removed from this site and seek
                                                monetary damages. Upon my winning these damages I
                                                intend to post all details on YELP and other publications
                                                promptly, so please standby.

                                                You will find that over the past 22 years I have built an A+
                                                reputation for myself and my company and I am held in
                                                high regards by various industry experts and organizations
                                                including the BBB and the National Ethics Bureau. I will
                                                defend my good name at all costs.

                                                Please pray to help people like "Jack M." realize that by
                                                maliciously posting reviews against good people like
                                                myself is not only bad business but immoral and has grave
                                                legal consequences.




                Jack M.
                Bluffton, SC
                    0 friends
                    20 reviews




https://www.yelp.com/biz/shaikh-zia-h-jackson                                                                               2/3
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                                                                                NJ - Phone Number Yelp of 57 PageID: 7414
                                                                     10/6/2015
                                                   First to Review

                                                Well, Zia Shaikh made a great pitch on his ability to
                                                SHELTER my income, burying it amongst a series of
                                                "trusts" and other financial vehicles.

                                                First, I found out that the insurance companies he using
                                                are second rate and paying him huge commissions on my
                                                7 figure investments.

                                                Also, his "office" which is listed above is a sham, rent a
                                                space as needed. Receptionist answers phones for all
                                                co's.

                                                Next, I learn that my accountant says these are incredibly
                                                "shady" type of tax dodges and I should check with the IRS
                                                Tax compliance departments.

                                                I did just that. And guess what. These are NOT tax
                                                compliant, they are actually tax evasion and a crime it
                                                seems. I spoke recently to the IRS Criminal Investigation
                                                Division in New Jersey, and they were not only interested,
                                                but I found out they are already ..in their words.."knee
                                                deep into an investigation of Mr. Shaikh and an associates
                                                they called "Chris", whom I believe works for him.

                                                I did some more research and found that he is also a
                                                deadbeat dad, and Ocean County Family Court records
                                                show that he is claiming poverty and not paying his wife
                                                child support. That speaks volumes about his integrity in
                                                my humble opinion.

                                                Based on the above, I have ceased my communications
                                                with Mr. Shaikh, and if he has approached you, or you are
                                                doing business with him, I STRONGLY advise you contact
                                                the Criminal Investigation Division of the IRS in Freehold,
                                                NJ or Newark, NJ. to protect yourself or report your contact
                                                with him. 732-761-3381 is IRS number.




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     About                                      Discover                                  Yelp for Business Owners                    Languages
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     Careers                                    Support                                   Online Ordering from Eat24                  Countries
     Press                                      Yelp Mobile                               Yelp Reservations                           United States
     Investor Relations                         Developers                                Business Success Stories
     Content Guidelines                         RSS                                       Business Support
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https://www.yelp.com/biz/shaikh-zia-h-jackson                                                                                                         3/3
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                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW JERSEY




 ZIA SHAIKH,                             )

                                         )
  Plaintiff,                             ) CASE NO. 3:22-cv-02053-GC-RLS

                                         )

          v.                             )

 LAURA L. GERMADNIG et al,               )

                                         )      CERTIFICATE OF SERVICE

                                            )

  Defendants.                               )

 _________________________              )



  I, Zia Shaikh, certify as follows that on May 11,2023:

 I served a copy of the attached PLA’ OPPOSITION AND RESPONSE TO YELP INC et al,
 FOR MOTION TO DISMISS AND BRIEF IN SUPPORT with supporting papers upon Federal
 district court for the Eastern District of New Jersey, Trenton division via USPS mail. I served the
 copy of same on each of the fifty six defendants to their below listed addresses via USPS regular
 mail or via PACER when available as follows:


         1. Defendant Sandra Seaman 315 Elberon Ave Allenhurst, NJ 07711
         2. Defendant Robert I. Mckee 99 Steiner Ave Unit 22, Neptune, NJ 07753
         3. Defendant Carol L. Mckee – same address
         4. Defendant Laura Germadnig --- 172 Roosevelt Ave Howell, NJ 07731
         5. Defendant Siegfried Germadnig --same address
         6. Defendant Patricia Germadnig -- same address
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       7. Defendant Mark Germadnig – same address
       8. Defendant Stacy Germadnig – same address
       9. Defendant Siegfried Germadnig Jr – same address
       10. Defendant Barus Germadnig – same address
       11. Defendant Skyler Germadnig – same address
       12. Defendant Candy Mckee – same address
       13. Defendant David Tarnowski 42 E. 4th St, Howell, New Jersey 07731.
       14. Defendant Nicole Tarnowski – same address
       15. Defendant Christine Gilfillen 19 Rustic Ln Howell, NJ 07731
       16. Defendant Daniel Schastny 174 Windeler Rd Howell, NJ 07731
       17. Defendant Kathleen Schastny – same address
       18. Defendant Bradley Mckee 14 Lexington Rd Howell, NJ 07731
       19. Defendant Rene Mckee – same address
       20. Defendant Melissa Reeves 39 Dawn Cypress Lane, Jackson, New Jersey 08527,
       21. Defendant Kenneth Reeves – same address
       22. Defendant Stanley O’ Brian 450 Cook Rd Jackson, NJ 08527
       23. Defendant Lori O’ Brian – same address
       24. Defendant Camille Eluzzi at -- Jackson POLICE Dept. 102 Jackson Dr Jackson, NJ
          08527
       25. Defendant Cathleen J. Coneeny, Esq., 3215 Danskin Road, Wall, New Jersey 07719
       26. Defendant Legal Malpractice Insurance Carrier for Cathleen
       27. Defendant August J. Landi Esq -- 1806 Highway 35 Ste 207, Oakhurst, NJ 07755
       28. David Schlendorf Esq at 9 Grand Ave Tomsriver, NJ 08753
       29. Defendant Nada Pityinger   482 Jamaica Blvd Tomsriver, NJ 08755
       30. Defendant Brett Pityinger – same address
       31. Defendant Stephanie J. Brown Esq -- 16 Poor Farm Rd Pennington, NJ 08534
       32. Defendant John R.Wiley CPA, ABV,CGMA at 220 Leigh Farm Rd Durham, NC
          27707-8110
       33. Defendant AICPA-CIMA (Association of International Certified Public Accountants)
          at 220 Leigh Farm Rd Durham, NC 27707-8110.
       34. Kevin B. Riordan Esq, Atty’s for Defendants Louis and Janis Elwell 20 Hadley Ave
          Toms River, NJ 08753 via PACER at kriordan@kbrlawfirm.com
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       35. Jeffrey Schreiber Esq., Atty’s for Defendants Slava Kleyman and Nancy Cavanaugh 4
          Auer Ct, Suite E&F East Brunswick, NJ 08816- via PACER at JS@msf-law.com
       36. David J. Montag, Esq. Atty’s for Defendant Margie McMahon ESQ 75 Livingston
          Avenue Suite 103 Roseland, New Jersey 07068 at dmontag@milbermakris.com via
          PACER.
       37. MARKS, O’NEILL, O’BRIEN,DOHERTY & KELLY, P.C. c/o Melissa J. Brown,
          Esq’, Atty for Defendants, Seth Arkush and Integrated Care Concepts, LLC, 535 RT 38
          East Ste 501 Cherryhill, NJ 08002 via PACER to mbrown@moodklaw.com and via
          PACER.
       38. ROTHSTEIN, MANDELL,STROHM,HALM & CIPRIANI P.A. Atty’s for Defendants
          Jackson Township Police Chief Matthew Kunz & Defendant Jackson Township Police
          Officer Christopher Parise at 98 East Water Street, Tomsriver, NJ 08753 via PACER to
          mnagurka@rmshc.law and via PACER.
       39. POSTERNOCK APELL, PC c/o Diana R. Sever, Esq’, Atty’s for Geoffrey Brignola,
          Principal of Jackson Liberty High School; Debra Phillips, Principal of Christa
          McAuliffe Middle School, and Adrien Jean-Denis, Principal of Crawford Rodriguez
          Elementary School at 400 North Church Street, Suite 250 Moorestown, New Jersey
          08057 via PACER to danp@posternockapell.com, dsever@posternockapell.com and
          via PACER.
       40. WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP c/o Michael P.
          Chipko, Esq. Atty’s for Defendants, Steven A. Zabarsky, Esq., Kimberly Zabarsky,
          and the Law Firm of Citta, Holzapfel & Zabarsky at 200 Campus Dr. Florham Park,
          New Jersey 07932-0668 via PACER to michael.chipko@wilsonelser.com and via
          PACER
       41. MARGOLIS EDELSTEIN Paul A. Carbon, Esq., c/o & Kyle L. Wu, Esq., Atty’s for
          Cowan Gunteski & Co P.A. and Joseph Gunteski CPA at 400 Connell Drive Ste 5400
          Berkeley Heights, NJ 07922-2775 via PACER
       42. MATTHEW J. PLATKIN ACTING ATTORNEY GENERAL OF NEW JERSEY, Atty
          for Defendants, Bradley Billhimer and John Foti Jr. at R.J. Hughes Justice Complex PO
          Box 116 Trenton, New Jersey 08625 via PACER
       43. MATTHEW J. PLATKIN, BARKHA PATEL, ACTING ATTORNEY GENERAL OF
          NEW JERSEY , Attorney for Defendants Madelin F. Einbinder, P.J.F.P., Marlene
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            Lynch-Ford, A.J.S.C., John M. Doran, J.S.C., Deborah S. Hanlon-Schron, J.S.C., and
            Francis A. Hodgson, P.J.Ch.at 25 Market Street Trenton, NJ 08625 via PACER
        44. Defendant “Jack M” to YELP INC Yelp Inc c/o Michael J. Tricarico Esq, Attorney for
            Defendant YELP INC at 120 Mountain View Boulevard Basking Ridge, NJ 07920
            Michael.Tricario@kennedyslaw.com via PACER
        45. Michael J. Tricarico Esq, Attorney for Defendant YELP INC at 120 Mountain View
            Boulevard Basking Ridge, NJ 07920 Michael.Tricario@kennedyslaw.com via PACER


  I certify that the foregoing statements made by me are true. I am aware that if any of the

  foregoing statements made by me are wilfully false, I am subject to punishment.




 Dated: May 11, 2023            ________________________________________

                                       Zia Shaikh

                                        Plaintiff
